  
 

. PagelD#: 1

“ORIGINAL Document 1. Filed 01/31/1:

BY ORDER OF 9

 

BE COURT | cep in tue

 

FLORENCE T. NAKAKUNI #2286 UNITED STATES DISTRICT COURT
United States Attorney DISTRICT OF HAWAH
District of Hawaii JAN 3.1 2013 oy
LESLIE E. OSBORNE, JR. #3740 waa andl in Pi
Chief, Criminal Division SUE BEITIA, CLERK

RONALD G. JOHNSON #4532
Assistant U.S. Attorney

Room 6100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850

Fax: (808) 541-2958

E-Mail: Ron.Johnson@usdoj.gov

Attorneys for
UNITED STATES OF AMERICA
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAIT

GR13- 00124 JMS

UNITED STATES OF AMERICA,

 

)
)

Plaintifé, ) INDICTMENT
)

vs. )
)
JOHN FREITAS, ) 18 U.S.C. § 2252

) [Child Pornography]

Defendant. )
)

 

INDICTMENT
[Possession of Child pornography] |
The Grand Jury charges that:
On or about July 13, 2011, in the District of Hawail,
Defendant JOHN FREITAS did knowingly possess matters, namely
computer hard drives and electronic storage media, which

contained visual depictions of minors engaged in sexually
Case 1:13-cr-00124-JMS Document1 Filed 01/31/13 Page2of2 PagelD#: 2

explicit conduct, with JOHN FREITAS then knowing that the
production of said visual depictions involved the use of minors
engaged in sexually explicit conduct, and which depictions were
of such conduct, and which depictions had been transported’ in
interstate and foreign commerce, and had been produced using
materials which had been shipped and transported in interstate
and foreign commerce.

In violation of Title 18, United States Code, Section
2252(a) (4). |

DATED: January 31, 2013, Honolulu, Hawaii.

A TRUE BILL

/s/ Foreperson

 

FOREPERSON, GRAND JURY

FLORENCE T. NAKAKUNI
United States Attorney
District of Hawaii

ee
Ce (out

LESLIE E. OSBORNE, Jr.

Chief, Criminad Division

 

   

RONALD G. JOHNSON
Assistant U.9¢ Attorney

United States v. JOHN FREITAS
Cr. No.
"INDICTMENT"
